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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

 JARROD JOHNSON individually,             )
 and on behalf of a class of persons      )
 similarly situated,                      )
                                          )
       Plaintiff,                         )
                                          )   Case No. 4:20-cv-00008-AT
 v.                                       )
                                          )
 3M COMPANY, et al.,                      )
                                          )
       Defendants.                        )

      DEFENDANT POLYVENTIVE, LLC’S INITIAL DISCLOSURES

      Pursuant to Fed. R. Civ. P. 26 and L.R. 26.1, Defendant Polyventive, LLC

(“Polyventive”), without submitting to the jurisdiction of this Court or waiving its

objection to the jurisdiction of this Court, submits its Initial Disclosures as follows:

                        INTRODUCTORY STATEMENT

      Polyventive makes this Initial Disclosure in good faith based upon the

information reasonably available at this time and without the benefit of complete

investigation or discovery. Polyventive was added as a defendant in the Third

Amended Complaint served on December 17, 2020. In particular, this Initial

Disclosure should not be construed to limit Polyventive’s ability to later identify

individuals with knowledge of relevant facts or documents as they may become
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known to Polyventive through discovery. Polyventive, LLC has been in existence

since July 7, 2015.

      Polyventive, LLC was named as a Defendant in this litigation in the Third

Amended Complaint (“TAC”) on December 14, 2020, alleging Plaintiff has

suffered damages to drinking water in the form of a 2.5% surcharge for Plaintiff’s

potable drinking water from the City of Rome. TAC, at 101. Plaintiff alleges his

2.5% surcharge damages are caused by presence of two chemical compounds in

the source water of the Conasauga River Perfluorooctanesulfonic acid (“PFOS”),

Chemical Abstract System (“CAS”) identification number 1763-23-1, and

Perfluorooctanoic acid (“PFOA”), CAS identification number 335-67-1 allegedly

in the Oostanaula River requiring filtration by the City of Rome. TAC, ¶ 103.

Polyventive has never manufactured or used Perflourooctanoic Acid (PFOA) CAS

335-67-1 or Perflourooctane Sulfonate (PFOS), CAS 1763-23-1. The United

States Environmental Protection Agency (“EPA”), which has been authorized by

the President of the United States and Congress to establish all standards for

drinking water in the United States and Georgia under the Safe Drinking Water

Act, 42 U.S.C. §§ 300f et seq. (“SDWA”), does not regulate or limit PFOA or

PFOS in drinking water, or source water, or environmental media.



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         Plaintiff elsewhere in the TAC uses the term “PFAS” in the context of

materials in source water, defined by Plaintiff as “per- and polyfluoralkyl

substances.” TAC, at ¶ 1. Plaintiff does not identify which, if any, of the

thousands of different fluorinated compounds which may constitute its definition

of “PFAS” is the source of Plaintiff’s alleged damages which Plaintiff alleges are

damages to drinking water in the form of a 2.5% surcharge for Plaintiff’s potable

drinking water from the City of Rome. TAC, at 101. EPA identifies 9,252

different chemical compounds as within the larger category of “poly and

perfluoralkyl compounds.”1 EPA warns:

         “There is no precisely clear definition of what constitutes a PFAS substance
         given the inclusion of partially fluorinated substances, polymers, and ill-
         defined reaction products on these various lists.”
https://comptox.epa.gov/dashboard/chemical_lists/pfasmaster


         The SDWA does not include as regulated contaminants, or otherwise limit,

any of the 9,252 compounds identified by U.S. EPA a “per and polyfluoralkyl

substances” or “PFAS” as used by Plaintiff. Similarly, the Georgia Safe Drinking

Water Act of 1977, O.C.G.A. §§ 12-5-170 et seq. implemented by the Georgia

Environmental Protection Division (“EPD”), does not include as regulated



1
    See EPA PFAS Master List at https://comptox.epa.gov/dashboard/chemical_lists/pfasmaster.
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contaminants, or otherwise limit, any of the 9,252 compounds identified as “per

and polyfluoralkyl substances” by EPA.

      Plaintiff does not identify which, if any, of the thousands of different

fluorinated compounds which may constitute its definition of “PFAS” is the source

of Plaintiff’s alleged damages.

      In making these disclosures, Polyventive does not represent that it is

identifying all conceivable facts, legal theories, individuals, documents,

electronically stored information, or tangible things upon which it may rely to

support its defenses. Polyventive makes its Initial Disclosures without waiving any

applicable privileges, including the attorney-client privilege or the attorney work

product privilege. Polyventive also makes these disclosures subject to the right to

protect from disclosure information and/or documents protected by privacy rights

and/or interests of persons who may be identified in the documents and also by

federal or state statute, regulation, or other law.

                              INITIAL DISCLOSURE

      (1) If the defendant is improperly identified, state defendant’s correct

identification and state whether defendant will accept service of an amended




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summons and complaint reflecting the information furnished in this

disclosure response.

      RESPONSE:           Although Polyventive denies any liability in this lawsuit,

Polyventive does not dispute Polyventive is the correct corporate entity to be

named.

      (2) Provide the names of any parties whom defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If

defendant contends that there is a question of misjoinder of parties, provide

the reasons for defendant’s contention.

      RESPONSE:           Polyventive is aware of no additional necessary parties to

this action at this time and is not aware of any misjoinder of parties.

      (3) Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by defendant in the responsive

pleading.

      RESPONSE:           Polyventive is unaware of any counterclaims or

crossclaims at this time but reserves the right to assert appropriate and applicable

counterclaims or crossclaims.



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      Plaintiff’s claims arise from alleged economic losses in the form of

increased costs he has purportedly paid for drinking and other domestic water

supplied by Rome, Georgia. According to Plaintiff, he and other putative class

members have been adversely affected by surcharges imposed by the City of Rome

to offset the costs of upgrades to its water treatment facility that were allegedly

made to remove per- and polyfluoroalkyl substances (“PFAS”) from its water

supply. Plaintiff claims that Polyventive and other defendants discharged

wastewater containing PFAS in the Dalton Publicly Owned Treatment Works

(“POTW”), which allegedly contaminated Plaintiff’s water sources. Polyventive’s

Dalton, Georgia facility does not and has not produced or used the chemicals that

are the sole basis of Plaintiff’s claims and does not contribute to any contamination

involving those chemicals in any water bodies at issue in Plaintiff’s Third

Amended Complaint. Here, Plaintiff does not allege that Polyventive discharged

any PFAS at issue in this case. Instead, Plaintiff asserts claims against Polyventive

and other Supplier Defendants for the following: (1) for costs imposed upon him

by someone other than Supplier Defendants (City of Rome); (2) to clean water

discharged by someone other than Supplier Defendants (Dalton Utilities); (3) after

others, besides Suppler Defendants, discharged wastewater from various facilities

and manufacturing processes to Dalton Utilities for treatment; and (4) because

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Supplier Defendants allegedly supplied PFAS to one or more Defendants.

Therefore, this Court lacks subject matter jurisdiction over Plaintiff’s claims

against Polyventive because Plaintiff’s injuries are not “fairly traceable” to

Polyventive. Further, Plaintiff fails to plead facts sufficient to state any claim

against Polyventive; fails to identify any facts establishing that Polyventive owed

him any legal duty recognizable under Georgia law; fails to allege facts that

Polyventive proximately caused his alleged injuries; fails to allege facts

establishing that he has incurred any damages beyond the purported surcharges

imposed by the City of Rome; and fails to allege facts establishing that Polyventive

created or controlled a nuisance.

      (4) Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which defendant

contends are applicable to this action.

      RESPONSE:            Polyventive relies on the statutes and legal principles

referenced in its Motions to Dismiss, as well as the applicable statutes, codes, legal

principles, legal standards, case law, defenses, and arguments asserted by the other

defendants that are the subject of the PFAS-related allegations for discharges

purportedly affecting the water supplies of Rome, Georgia and Floyd County,

Georgia, given that the other defendants’ pleadings contain detailed descriptions of
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the legal principles and case law that are generally applicable to this action. Those

principles and authorities include, but are not limited to:

   1. The Safe Drinking Water Act, 42 U.S.C. §§ 300f et seq. (“SDWA”),
      implemented by the United States Environmental Protection Agency and the
      Georgia Environmental Protection Division regarding contaminant levels in
      drinking water for protection of citizens of the United States. The SDWA
      does not include in its lists of regulated contaminants, or otherwise limit, the
      two compounds identified in Plaintiff’s Complaint - which Polyventive has
      never manufactured or used Perflourooctanoic Acid (PFOA) CAS 335-67-1
      and Perflourooctane Sulfonate (PFOS), CAS 1763-23-1 (Third Amended
      Complaint (“TAC”) ¶ 99-101). The SDWA does not does not include as
      regulated contaminants, or otherwise limit, any of the 9,252 compounds
      identified by U.S. EPA a “per and polyfluoralkyl substances” or “PFAS” as
      used by Plaintiff.
   2. The Georgia Safe Drinking Water Act of 1977, O.C.G.A. § 12-5-170 et seq.
      implemented by the Georgia Environmental Protection Division regarding
      contaminant levels in drinking water for protection of citizens of Georgia.
      The Georgia SDWA does not include in its lists of regulated contaminants,
      or otherwise limit, the two compounds identified in Plaintiff’s Complaint -
      which Polyventive has never manufactured or used Perflourooctanoic Acid
      (PFOA) CAS 335-67-1 and Perflourooctane Sulfonate (PFOS), CAS 1763-
      23-1 (Third Amended Complaint (“TAC”) ¶ 99-101). The Georgia SDWA
      does not does not include as regulated contaminants, or otherwise limit, any
      of the 9,252 compounds identified by U.S. EPA a “per and polyfluoralkyl
      substances” or “PFAS” as used by Plaintiff.
   3. The Toxic Substances Control Act, 15 U.S.C. §§ 2601 et seq. implemented
      by the United States Environmental Protection Agency authorizing and
      governing manufacturing of substances in interstate commerce. We noted
      that TSCA has some of the strongest confidentiality and trade secret
      protections in Federal law, including criminal provisions for disclosure of
      information qualifying as Confidential Business Information, directly
      applicable in this instance to this case. TSCA authorizes, and regulates, any
      of the 9,252 compounds identified by U.S. EPA a “per and polyfluoralkyl
      substances” or “PFAS” as used by Plaintiff that are used in interstate


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     commerce, as articles of commerce, or otherwise manufactured, used,
     imported or exported in products or materials in the United States.
4.   The Clean Water Act, 33 U.S.C. §§ 1251 et seq. (“CWA”) implemented by
     the United States Environmental Protection Agency and the Georgia
     Environmental Protection Division. The CWA does not include in its lists
     of regulated pollutants, or limit, the two compounds identified in Plaintiff’s
     Complaint - which Polyventive has never manufactured or used -
     Perflourooctanoic Acid (PFOA) CAS 335-67-1 and Perflourooctane
     Sulfonate (PFOS), CAS 1763-23-1 (Third Amended Complaint (“TAC”) ¶
     99-101). The SDWA does not regulate or limit any of the 9,252 compounds
     identified by U.S. EPA a “per and polyfluoralkyl substances” or “PFAS” as
     used by Plaintiff.
5.   The Georgia Water Quality Control Act, O.C.G.A.. §§ 12-5-20 et seq.
     implemented by the Georgia Environmental Protection Division. The
     Georgia Water Quality Control Act does not include in its lists of regulated
     pollutants, or limit, the two compounds identified in Plaintiff’s Complaint -
     which Polyventive has never manufactured or used - Perflourooctanoic Acid
     (PFOA) CAS 335-67-1 and Perflourooctane Sulfonate (PFOS), CAS 1763-
     23-1 (Third Amended Complaint (“TAC”) ¶ 99-101). The SDWA does not
     regulate or limit any of the 9,252 compounds identified by U.S. EPA a “per
     and polyfluoralkyl substances” or “PFAS” as used by Plaintiff.
6.   The Economic Loss Rule: a “bright line” rule providing that “a plaintiff can
     recover in tort only those economic losses resulting from injury to his person
     or damage to his property.” Gen. Elec. Co. v. Lowe's Home Centers, Inc.,
     608, S.E.2d 636, 637 (Ga. 2005);
7.   The Public Services Doctrine: the legal principle barring suits in tort to
     “recover the costs of carrying out public services.” Walker Cnty v. Tri-State
     Crematory, 643 S.E.2d 324, 327 (Ga. Ct. App. 2007).
8.   Federal Pleading Standards and Related Case Law: the requirements of Fed.
     R. Civ. P. 8 and 12(b)(6), including the principle that a plaintiff allege facts
     sufficient “to state a claim for relief that is plausible on its face,” Ashcroft v.
     Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,
     550 U.S. 544, 570 (2007)), and the related case law within the Eleventh
     Circuit “consistently condemning” shotgun pleadings. Davis v. Coca-Cola
     Bottling Co. Consol., 516 F.3d 955, 979 (11th Cir. 2008), abrogated on other
     grounds; and
9.   The Requirement of Legal Duty: the requirement that a plaintiff establish a
     legal duty owed by the defendant as a prerequisite to recovery in tort, John
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       Crane, Inc. v. Jones, 278 Ga. 747, 751 (2004), and the line of case law in
       Georgia rejecting the notion of a “duty to the world” or using “mere
       foreseeability” “as a basis for extending a duty of care.” Dep’t of Labor v.
       McConnell, 305 Ga. 812, 816 (Ga. 2019); CSX Transp., Inc. v. Williams,
       608 S.E.2d 208, 209 (2005).
   10. Georgia Common Law regarding water, water rights, and adulteration of
       water sources, including statutory codifications of common law as
       applicable.

      (5) Provide the name and, if known, the address and telephone number

of each individual likely to have discoverable information that you may use to

support your claims or defenses, unless solely for impeachment, identifying

the subjects of the information.

      RESPONSE:

  1. Zay Risinger, President, Polyventive LLC, 130 Executive Drive SE Calhoun,
GA 30701, 706-659-0300

   2. Tom Zachary, EHS Manager, 130 Executive Drive SE Calhoun, GA 30701,
      Mobile: 706-659-0300

      (6) Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For

all experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written

report satisfying the provisions of that rule. (Attach expert witness list and

written reports to Initial Disclosures as Attachment B.)


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      RESPONSE:           Polyventive has not yet identified any witness(es) who

may be used at trial to present evidence under Rules 702, 703, or 705 of the

Federal Rules of Evidence. Also, Polyventive has not yet determined whether

Polyventive will identify any testifying expert witness(es) subject to the disclosure

requirements of Fed. R. Civ. P. 26(a)(2)(B). Polyventive will timely amend this

disclosure consistent with the Federal Rules of Civil Procedure and in accordance

with the Court’s Case Management Order.

      (7) Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and

tangible things in your possession, custody, or control that you may use to

support your claims or defenses unless solely for impeachment, identifying the

subjects of the information. (Attach document list and descriptions to Initial

Disclosures as Attachment C.)

      RESPONSE:           See Attachment C attached hereto.

      (8) In the space provided below, provide a computation of any category

of damages claimed by you. In addition, include a copy of, or describe by

category and location of, the documents or other evidentiary material, not

privileged or protected from disclosure on which such computation is based,


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including materials bearing on the nature and extent of injuries suffered,

making such documents or evidentiary material available for inspection and

copying under Fed. R. Civ. P. 34. (Attach any copies and descriptions to

Initial Disclosures as Attachment D.)

      RESPONSE:            Not applicable to Polyventive.

      (9) If defendant contends that some other person or legal entity is, in

whole or in part, liable to the plaintiff or defendant in this matter, state the

full name, address, and telephone number of such person or entity and

describe in detail the basis of such liability.

      RESPONSE:            Polyventive does not presently contend that any party is

liable to it or to Plaintiff in this matter but will timely amend this disclosure

pursuant to the Federal Rules of Civil Procedure and in accordance with the

Court’s Case Management Order in the event that new information arises during

discovery that alters Polyventive’s position.

      (10) Attach for inspection and copying as under Fed. R. Civ. P. 34 any

insurance agreement under which any person carrying on an insurance

business may be liable to satisfy part or all of a judgment which may be

entered in this action or to indemnify or reimburse for payments to satisfy the

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judgment. (Attach copy of insurance agreement to Initial Disclosures as

Attachment E.)

      RESPONSE:           Polyventive will produce the declaration page for any

applicable insurance policy(ies), if available, at a mutually agreeable date, time,

and location to be determined by the parties.

             Respectfully submitted this the 13rd day of August 2021.

                                        Respectfully submitted,

                                        Earth & Water, LLC

                                      /s/ David M. Moore
                                      /s/ Bilal M. Harris
                                      David M. Moore, GA Bar No. 518830
                                      Bilal M. Harris, GA Bar No. 284969
                                      Earth and Water, LLC
                                     Promenade, Suite 1900
                                     1230 Peachtree Street, N.E.
                                     Atlanta, Georgia 30309
                                     Telephone: (404) 245-5421

                                     Email: David.moore@earthandwatergroup.com
                                     Email: Bilal.harris@earthandwatergroup.com

                                     Counsel for Defendant Polyventive, LLC




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                                   Attachment C

      Polyventive identifies the following documents it may use to support its

defenses. By virtue of this disclosure, Polyventive does not concede the

admissibility of any such documents on any grounds, including, but not limited to,

authenticity, hearsay, or relevance. Polyventive expressly reserves all objections to

any documents identified herein.

   1. Relevant sales documentation sufficient to identify any Polyventive sales to
      customers in the Dalton area.
   2. Any and all Material Safety Data Sheets / Safety Data Sheets, Technical
      Data Sheets, and/or product labels for any product at issue in this case with
      respect to Polyventive.
   3. Documents relating to permits held by Polyventive related to the disposal of
      wastewater.
   4. Documents relating to the testing of wastewater.
   5. Any and all of the documents identified in Plaintiff’s or any other party’s
      Rule 26(a) disclosures, and those items identified in the depositions, expert
      disclosures, Answers to Interrogatories, Responses to Requests for
      Production, or Responses to Requests for Admissions and other matters of
      record in this case.
   6. All documents or exhibits provided by Polyventive or any other party in
      response to any and all discovery or otherwise referred to in Polyventive’s or
      any other parties’ response to discovery or expert disclosures.
   7. All records referred to in or produced pursuant to any subpoena by reason of
      the pendency of this case.
   Polyventive reserves the right to supplement this list to include any other

documents identified during the course of discovery that contain information that

may be used by it to support its claims or defenses. Further, Polyventive reserves


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the right to withhold production of any such documents or other materials for any

reason authorized by law.




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                          CERTIFICATE OF COMPLIANCE

         Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule

5.1.C.


                                       /s/ David M. Moore
                                       /s/ Bilal M. Harris
                                       David M. Moore, GA Bar No. 518830
                                       Bilal M. Harris, GA Bar No. 284969


                             CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and accurate copy of the

foregoing DEFENDANT POLYVENTIVE, LLC’S RULE 26(a) INITIAL

DISCLOSURE STATEMENT has been filed electronically with the Clerk of

Court on August 13, 2021 by using the CM/ECF System which has notified all

counsel of record.



                                       /s/ David M. Moore
                                       /s/ Bilal M. Harris
                                       David M. Moore, GA Bar No. 518830
                                       Bilal M. Harris, GA Bar No. 284969


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